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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 1:04CR74-LG-JMR-05

THOMAS O’NEAL THOMPSON


                        AGREED ORDER REDUCING SENTENCE

       The Court considers this case pursuant to its authority under 18 U.S.C. § 3582(c)(2) and
Federal Rule of Criminal Procedure 43(b)(4). The U.S. Sentencing Commission has reduced

guideline offense levels for cocaine base cases, and has made the reductions retroactive to

previously-sentenced defendants. The parties agree that a sentencing reduction is appropriate in

this case. The Court concurs, and hereby ORDERS as follows:

       (1)     The sentence is reduced from 74 months to 60 months;

       (2)     All other terms and provisions of the original judgment remain in effect.

       A copy of this agreed order shall be transmitted to the Bureau of Prisons immediately.

       SO ORDERED AND ADJUDGED this the 17th day of February, 2009.



                                                     s/Louis Guirola, Jr.
                                                     LOUIS GUIROLA, JR.
                                                     UNITED STATES DISTRICT JUDGE




AGREED:


__/s/ John A. Meynardie ______________               /s/ George L. Lucas
ASSISTANT U.S. ATTORNEY                              DEFENSE COUNSEL
